       Case 21-21053-jrs            Doc 79-4          Filed 11/24/21 Entered 11/24/21 17:05:12   Desc
                                                    Exhibit D Page 1 of 1

EXTRUSION GROUP LLC - DIP
Statement of Cash Flows
October 5 - 31, 2021
                                                      Oct 5 - 31, 21
        OPERATING ACTIVITIES
            Net Income                                       4,609
            Adjustments to reconcile Net Income                   0
            to net cash provided by operations:                   0
                1100000 · Accounts Receivable                9,002
                2100000 · Accounts Payable                  11,219
                2076400 · EG Deferred Revenue                9,172
        Net cash provided by Operating Activities           34,002
    Net cash increase for period                            34,002
Cash at end of period                                       34,002




                                                                                                   Page 1 of 1
